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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

UNITED STATES OF AMERICA,

                                       Plaintiff,                       DESIGNATION OF INDEX
                                                                        TO THE RECORD ON
               v.                                                       APPEAL

                                                                        Case No. 19-CR-227



JOSEPH BONGIOVANNI,
PETER GERACE, JR.
                                       Defendants.

____________________________________________

PLEASE TAKE NOTICE, Defendant Peter Gerace, Jr., by and through his attorneys,
HOGANWILLIG, PLLC, hereby designates the following documents filed in the Western District
of New York to constitute the index to the electronic record on appeal of this matter to the Second
Circuit Court of Appeal, #21-2419:

     District                              Title of Document                            Sequence
      Court                                                                             Number
     Docket #
 1                  Indictment                                                          1
 114                Motion Notice of Motion for an Injunction of a Civil Action filed   2
                    in State Of New York, Supreme Court, County Of Erie And
                    Assigned Index Number 812394/2020 by USA as to Peter Gerace,
                    Jr.
 115                Sealed Document: Affidavit of Joseph M. Tripi re: Motion for an     3
                    Injunction of a Civil Action Filed in State of New York, Supreme
                    Court, County of Erie and Assigned Index Number 812394/2020,
                    with Exhibits A-I.
 117                Sealed Document: Order Enjoining Civil Action Filed in New          4
                    York State Supreme Court, Erie County, Index Number
                    812394/2020 until further order of the U.S. District Court.
 130                Sealed Document as to Peter Gerace, Jr. - Sealed Motion re 117      5
                    Sealed Order Enjoining Civil Action Filed in New York State
                    Supreme Court, Erie County, Index Number 812394/2020 until
                    further order of the U.S. District Court.
 143                Sealed Document as to Peter Gerace, Jr. - Government's response     6
                    to


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                  Defendant's 130 sealed motion.
 162              Sealed Document as to Peter Gerace, Jr. - Defendant's reply          6
                  memorandum re:130 sealed motion.
 182              Notice Of Filing Of Official Transcript of Proceedings as to Peter   7
                  Gerace, Jr held on July 22, 2021 before District Judge, the
                  Honorable John L. Sinatra, Jr. Court
 191              Decision And Order as to Peter Gerace, Jr., denying Gerace's         8
                  motion to vacate the order enjoining the State Action (Dkt. 130).
                  The order enjoining the State Action (Dkt. 117) remains in effect.
 218              Interlocutory Notice Of Appeal as to 191 Order on Motion for         9
                  Miscellaneous Relief, by Peter Gerace, Jr.



DATED:          Amherst, New York
                March 8, 2022

                                                                      /s/Steven M. Cohen, Esq.
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